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                                                                              January 4, 2024
 VIA ECF
 United States District Court
 Eastern District of New York
 Attn: Hon. Vera M. Scanlon, U.S.M.J.
 225 Cadman Plaza East
 Courtroom 13A South
 Brooklyn, NY 11201-1804

           Re:    Sanchez v. EZ Parking Corp., et al.
                  Case No.: 1:23-cv-4052 (AMD) (VMS)

 Dear Judge Scanlon:

         This office represents the Defendant EK Premier Services LLC (“EK”) in the above-
 referenced case. See ECF Docket Entries 12 and 18. Defendant EK writes, with Plaintiff’s consent,
 to respectfully request a fifty-eight (58) day extension of time from November 15, 2023 to respond
 to the Plaintiff’s amended complaint1 in this case.

        Pursuant to ¶ II(b) of this Court’s Individual Practice Rules, Defendant EK respectfully
 submits that:

           (i) the original date to respond to the amended complaint was November 15, 2023;2

       (ii) there have been no previous requests for an extension of time to respond to Plaintiff’s
 amended complaint;

           (iii) the Plaintiff consents to the requested extension of time;

         (iv) the reason for the requested extension of time is because it came to Defendant EK’s
 attention that no response had been filed to the amended complaint due to inadvertence;

           (v) the requested extension would move the deadline to Friday, January 12, 2024; and

           (vi) Defendant EK is not aware of any other scheduled dates the requested extension would
 affect.


 1
     See ECF Docket Entry 14.
 2
  Plaintiff’s amended complaint was filed on November 1, 2023. Pursuant to Rule 15, Defendant
 EK’s answer was due fourteen (14) days thereafter. See Fed. R. Civ. P. 15(a)(3).
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        Accordingly, Defendant EK respectfully submits that there is good cause for the requested
 extension of time. See Fed. R. Civ. P. 6(b)(1)(A).

         Defendant EK thanks this Court for its time, attention and anticipated courtesies in this
 case.

 Dated: Lake Success, New York
        January 4, 2024                       Respectfully submitted,

                                              MILMAN LABUDA LAW GROUP PLLC

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